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AO 450(GAS Rev 10/03)Judgment in a Civil Case



                           United States District Court
                                         Southern District of Georgia
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     NICHOLAS BRIAN SHUCK,
                                                                       JUDGMENT IN A CIVIL CASE
            Movant,

                                    V.                               CASE NUMBER: CV 416-211
                                                                                         CR 411-007
    UNITED STATES OF AMERICA,

            Respondent.




        Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
 □      has rendered its verdict.


        Decision by Court.This action came before the Court. The issues have been considered and a decision has been
        rendered.


        IT IS ORDERED AND ADJUDGED

        that, in accordance with the Order of this Court entered on February 21, 2017, Nicholas Shuck's

         § 2255 motion is hereby DENIED; and this civil action is hereby CLOSED.




  February 21, 2017
 Date




                                                                   (By) Deputy Clerk
